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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE


      In re:                                                         Case No. 22-11068

      FTX TRADING LTD., et al.,                                      Chapter 11

                                           Debtors.                  (Jointly Administered)




                         NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. §1111 (a). Transferee hereby gives notice
pursuant to Rule 3001(e) (1), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.


Nexxus Participation Vehicle III LLC                                  Name (Redacted)
Name of Transferee                                                    Name of Transferor

Address for all Notices and Payments:                                 Address: On file with Debtors

Nexxus Participation Vehicle III LLC
Attn: Tim Babich
Email: tim.babich@nexxus-holdings.com
c/o Nexxus Holdings Operations LLC
800 Miramonte Dr., Suite 380
Santa Barbara, CA 93109



 Unique Creditor ID/Scheduled ID/Claim                     Creditor Name             Amount               Debtor          Case No.
               Confirmation #
Unique Creditor ID: 00688473                              Name (Redacted) As described               FTX TRADING 22-11068
Claim #: 2273                                                             on proof of                  LTD., et al.
Claim Confirmation #(s): 3265-69-ZQYPI-                                    claim (see
101585358                                                                   attached)


I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
and belief.


Date: July 31, 2024




   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                       Proof of Claim
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                                                                           Name of Transferee

Transferee has in its possession an Evidence of Transfer of Claim signed by the Transferor.

To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address, and has not attached the signed Evidence of Transfer of Claim to
this Notice of Transfer of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer of Claim to the Bankruptcy Court, the Debtors, and appropriate
professionals.
